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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

  P.J.E.S., a minor child by and through
  his father and next friend, Mario
  Escobar Francisco, on behalf of himself
  and others similarly situated,

                        Plaintiff,

         v.                                               Case No. 1:20-cv-2245 (EGS/GMH)

  CHAD F. WOLF, Acting Secretary of
  Homeland Security, in his official
  capacity, et al.,

                        Defendants.


                                             ORDER

       On November 22, 2022, the government filed a motion to dismiss the complaint in this

case as moot or, in the alternative, to vacate the preliminary injunction entered on November 18,

2020. ECF No. 147; see also ECF No. 79. The scheduling order entered in connection with that

motion to dismiss requires Plaintiffs to file their opposition on or before January 9, 2023, with the

government’s reply due on or before January 23, 2023. ECF No. 146. On January 6, 2023, Plain-

tiffs filed a motion to hold the briefing on the motion to dismiss in abeyance pending resolution of

appellate proceedings in Huisha-Huisha v. Mayorkas, 21-cv-100, which is currently before the

Supreme Court. ECF No. 148 at 1. The government plans to oppose Plaintiff’s abeyance motion

but consents to a 21-day extension of the briefing schedule on the motion to dismiss. Id. at 4.

Accordingly, it is hereby

       ORDERED that the briefing schedule on the government’s motion to dismiss is extended

by 21 days, such that Plaintiffs’ opposition is due on or before January 30, 2023, and the govern-

ment’s reply is due on or before February 13, 2023. It is further
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       ORDERED that the government shall file any opposition to Plaintiffs’ motion to hold the

motion to dismiss in abeyance on or before January 13, 2023. Plaintiffs shall file any reply on or

before January 20, 2023.



       SO ORDERED.

                                                                      Digitally signed by
                                                                      G. Michael Harvey
                                                                      Date: 2023.01.06
Date: January 6, 2023                                                 14:25:00 -05'00'
                                                    ___________________________________
                                                    G. MICHAEL HARVEY
                                                    UNITED STATES MAGISTRATE JUDGE




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